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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA

ETHAN RAINEY, on behalf of himself :
and others similarly situated,      : CIVIL ACTION FILE NO.
                                    :
Plaintiff,                          :
                                    :
v.                                  : COMPLAINT – CLASS ACTION
                                    :
VIVINT, INC., a Utah corporation,   :
                                    : JURY TRIAL DEMANDED
Defendant.                          :
                                    :
                                  /

                        CLASS ACTION COMPLAINT

   Plaintiff Ethan Rainey (“Plaintiff” or “Rainey”) brings this Class Action

Complaint and Demand for Jury Trial against Vivint, Inc., (“Defendant” or “Vivint”)

to stop the Defendant from violating the Telephone Consumer Protection Act and

the Florida Telephone Solicitation Act by making telemarketing calls to consumers

who have specifically asked the Defendant to stop calling them. Plaintiff also seeks

injunctive and monetary relief for all persons injured by Defendant’s conduct.

Plaintiff Rainey, for this Complaint, alleges upon personal knowledge as to himself

and his own acts and experiences, and, as to all other matters, upon information and

belief, including investigation conducted by his attorneys, as follows:


                             NATURE OF ACTION
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      1.     As the Supreme Court recently explained, “Americans passionately

disagree about many things. But they are largely united in their disdain for robocalls.

The Federal Government receives a staggering number of complaints about

robocalls—3.7 million complaints in 2019 alone. The States likewise field a constant

barrage of complaints. For nearly 30 years, the people’s representatives in Congress

have been fighting back. As relevant here, the Telephone Consumer Protection Act

of 1991, known as the TCPA, generally prohibits robocalls to cell phones and home

phones.” Barr v. Am. Ass'n of Political Consultants, 140 S. Ct. 2335, 2343 (2020).

      2.     This case involves a win-back campaign by Defendant Vivint to market

its services through the use of telemarketing calls using solicitation text messages

and calls in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et

seq. (hereinafter referred to as the “TCPA”) and the Florida Telephone Solicitation

Act (“FTSA”), Fla. Stat. § 501.059.

      3.     The recipients of Defendant Vivint’s illegal calls, which include

Plaintiff and the proposed classes, are entitled to damages under the TCPA and

FTSA, and because the technology used by Vivint makes calls en masse, the

appropriate vehicle for their recovery is a class action lawsuit.

                                      PARTIES




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       4.     Plaintiff Rainey is and at all times relevant to this action a Duval

County, Florida resident.

       5.     Defendant Vivint is a Utah corporation headquartered in Provo, Utah.

                          JURISDICTION AND VENUE

       6.     This Court has federal question jurisdiction over the TCPA claim

pursuant to 28 U.S.C. § 1331, as the action arises under the Telephone Consumer

Protection Act, 47 U.S.C. §227 (“TCPA”). The Court has supplemental jurisdiction

over the FTSA claims, as they arise out of the same telemarketing campaign as the

TCPA claim.

       7.     This Court has specific personal jurisdiction over Defendant Vivint

because the Defendant conducts business in this District and directed the calls to

Plaintiff here.

       8.     Venue is proper pursuant to 28 U.S.C. § 1391(b) because Defendant

Vivint directed the calls at issue to Plaintiff’s Florida area code cell phone number

which Plaintiff received in this District.

                              TCPA BACKGROUND

The TCPA and FTSA Prohibit Automated Telemarketing Calls

       9.     The Rules under the TCPA prohibit any person or entity from initiating

any call for telemarketing purposes to a residential telephone subscriber unless such


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person or entity has instituted procedures for maintaining a list of persons who

request not to receive telemarketing calls made by or on behalf of that person or

entity. See 47 C.F.R. § 64.1200(d).

      10.    The Rules framed under the TCPA prescribe the minimum standards

which must be met for the procedures for maintaining a list of persons who request

not to receive telemarketing calls made by or on behalf of that person or entity. See

47 C.F.R. § 64.1200(d).

      11.    Defendant has a practice of contacting consumers to promote their

products despite requests from consumers to not be contacted.

      12.    The FTSA similarly prohibits initiating “an outbound telephone call,

text message, or voicemail transmission to a consumer, business, or donor or

potential donor who has previously communicated to the telephone solicitor or other

person that he or she does not wish to receive an outbound telephone call, text

message, or voicemail transmission [..] made by or on behalf of the seller whose

goods or services are being offered.” See Fla. Stat. § 501.059 (5)(a).

                          COMMON ALLEGATIONS

      13.    Defendant Vivint is a “person” as the term is defined by 47 U.S.C.

§ 153(39).




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         14.    Defendant Vivint sells home security and smart home products and

services to consumers throughout Florida, and the U.S.1

         15.    Defendant places telemarketing cold calls, including text messages, to

solicit consumers to use Defendant’s smart home products and services, as in

Plaintiff Rainey’s case.

         16.    Defendant Vivint fails to meet the minimum standards prescribed under

the TCPA Rules to maintain a list of consumers who request not to receive

telemarketing solicitation calls or text messages from or on behalf of Defendant.

         17.    Defendant Vivint places cold calls and solicitation text messages to

consumers who have previously requested not to receive any further telemarketing

calls or texts from or on behalf of Defendant, like in Plaintiff Rainey’s case.

         18.    Defendant Vivint conducts win-back campaigns specifically focused on

cold calling old or expired consumer leads, who have not made any inquiries about

the Defendant’s products or services in the past several weeks, or even months, to

solicit sales of Defendant’s products or services, including several consumers who

have previously requested not to receive any telemarketing calls or texts from or on

behalf of the Defendant.




1
    https://www.linkedin.com/company/vivint/about/

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      19.    Many of Defendant’s employees have shared their experience of

placing cold calls to consumers under the directions and on behalf of Defendant

Vivint, for instance:




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      20.    Multiple consumers have reported receiving unsolicited telemarketing

calls from Defendant Vivint, including complaints from consumers who continue to

receive telemarketing calls from or on behalf of Defendant Vivint even after the


2
  https://www.indeed.com/cmp/Vivint-
    2/reviews?fjobtitle=Inside+Sales+Representative&fcountry=US
3
  Id.

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consumers requested not to receive any more telemarketing calls from or on behalf

of Defendant, like Plaintiff Rainey, for instance:




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4
  https://www.bbb.org/us/ut/provo/profile/burglar-alarm-systems/vivint-smart-home-1166-4002276/customer-
      reviews
5
  Id.
6
  https://lookup.robokiller.com/p/801-227-7000

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7
  Id.
8
  Id.
9
  https://www.shouldianswer.com/phone-number/8012277000/2

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      21.    Defendant Vivint conducts specific win-back telemarketing campaigns,

to solicit sales of its products and services from consumers who may have shown

interest in Defendant’s products or services in the past.

      22.    In conducting such telemarketing campaigns, Defendant Vivint also

sends telemarketing text messages and calls to consumers who have previously

requested not to receive any telemarketing calls or text messages from or on behalf

of Defendant.

      23.    The Plaintiff and other members of the proposed class received

telemarketing calls and texts from or on behalf of Defendant and/or their agents

despite requesting not to be contacted by or on behalf of Defendant.

      24.    Defendant’s actions have harmed Plaintiff and all members of the

Classes, defined below, in the form of annoyance, nuisance, and invasion of privacy,

occupied their phone lines, and disturbed the use and enjoyment of their phones, in

addition to the wear and tear on the phone’s hardware (including the phone’s

battery), the consumption of memory on the phone, and, in some instances, they may

have been charged for incoming calls.

      25.    In response to these calls, Plaintiff file this lawsuit seeking injunctive

relief requiring the Defendant to cease violating the Telephone Consumer Protection




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Act and the Florida Telephone Solicitation Act, as well as an award of statutory

damages to the members of the Classes and costs.

                   PLAINTIFF RAINEY’S ALLEGATIONS

      26.   Plaintiff Rainey is the subscriber and the sole user of the cell phone

number ending xxx-xxx-0329.

      27.   Plaintiff Rainey uses his cell phone number for personal and residential

purposes only.

      28.   In June 2022, Plaintiff Rainey visited Defendant Vivint’s website,

www.vivint.com, and requested information on a Smart Home security system.

Plaintiff was notified online that he would be contacted by a Vivint employee.

      29.   Plaintiff Rainey received a phone call from a Vivint employee

regarding a Smart Home security system to his cell phone number. When Plaintiff

heard the pricing and terms, he informed them he was not interested in purchasing a

Vivint system. He informed the Vivint employee that he already had a system with

ADT which worked well and was more affordable.

      30.   On June 30, 2022, at 12:33 PM, despite making it clear to Defendant

Vivint that Plaintiff would not install Defendant’s security system in his home,

Plaintiff Rainey received a text message on his cell phone from Defendant Vivint

using the phone number 385-327-2411:


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      31.   Defendant’s employee Tanner failed to identify his last name in this

solicitation text message he sent to Plaintiff Rainey’s cell phone to solicit

Defendant’s products or services.

      32.   Plaintiff sent 2 text message responses back to Defendant Vivint on

June 30, 2022, the first at 12:36 PM and the second at 12:38 PM:




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      33.    On June 30, 2022, at 12:38 PM, Plaintiff Rainey, in his response to

Defendant Vivint's solicitation text messages, specifically stated, “Please remove me

from your contact list effective immediately”.

      34.    On calling this phone number, 385-327-2411, a Google Voice

automated message answers requesting the caller to provide their name. When the

call is not answered, a generic Google Voice message plays asking the caller to leave

a message.

      35.    On June 30, 2022, at 1:46 PM, Plaintiff Rainey received a second text

message on his cell phone from Defendant Vivint, this time using the phone number

707-833-7180:




      36.    Defendant Vivint’s employee Zack failed to identify his last name in

the solicitation text message.


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      37.    On June 30, 2022, at 1:48 PM, Plaintiff Rainey replied to Defendant’s

solicitation text by sending a text message to the phone number 707-833-7180,

reiterating his request to Defendant Vivint to stop contacting him:




      38.    On calling this phone number, 707-833-7180, an unidentified generic

voicemail message requests the caller to leave a voicemail, and it fails to connect the

caller to Defendant Vivint, or to the telephone solicitor who sent the text message

on Defendant’s behalf.

      39.    On June 30, 2022, at 4:01 PM, Plaintiff received a call to his cell phone

from Defendant Vivint, using the phone number 816-800-9344.

      40.    Plaintiff answered the call and a Vivint employee tried to get Plaintiff

to schedule a Vivint security system installation. Plaintiff told Defendant’s employee

that he specifically asked the Defendant’s employee to stop calling Plaintiff’s cell




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phone. Plaintiff then asked for his cell phone number to be removed from Vivint’s

system and hung-up.

        41.   On calling this phone number, 816-800-9344, the number rings a

couple of times, then the ring sound changes as if it has been forwarded, leading to

an unidentified generic voicemail message requesting the caller to leave a message.

        42.   On July 26, 2022, at 2:25 PM, Plaintiff received yet another text

message to his cell phone from Defendant Vivint, using the phone number 801-658-

2792:




        43.   Plaintiff made multiple requests for the texts and calls to stop, but the

unsolicited telemarketing calls from Defendant Vivint continue.

        44.   The unauthorized telephone calls and text messages placed by

Defendant, as alleged herein, have harmed Plaintiff Rainey in the form of

annoyance, nuisance, and invasion of privacy, and disturbed the use and enjoyment




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of her phone, in addition to the wear and tear on the phone’s hardware (including the

phone’s battery) and the consumption of memory on the phone.

      45.    Seeking redress for these injuries, Plaintiff Rainey, on behalf of himself

and Classes of similarly situated individuals, bring suit under the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq., and the Florida Telephone

Solicitation Act, Fla. Stat. § 501.059, which prohibit unsolicited telemarketing calls

and text messages to phone numbers after the consumer has asked for the calls and

text messages to stop.

      46.    In response to these calls, Plaintiff file this lawsuit seeking injunctive

relief requiring the Defendant to cease violating the Telephone Consumer Protection

Act and the Florida Telephone Solicitation Act, as well as an award of statutory

damages to the members of the Classes and costs.

                         CLASS ACTION ALLEGATIONS

      47.    Plaintiff Rainey brings this action pursuant to Federal Rules of Civil

Procedure 23(b)(2) and 23(b)(3) and seeks certification of the following Classes:

      TCPA Internal Do Not Call Class: All persons in the United States who
      from four years prior to the filing of this action through trial (1) Defendant, or
      an agent calling on behalf of the Defendant, called or texted more than one
      time, (2) within any 12-month period, (3) for substantially the same reason
      that Defendant called or texted Plaintiff, (4) including at least once after the
      person requested that Defendant or its agent to stop.



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      Florida Stop Request Class: All persons in Florida, who, on or after July 1,
      2021, (1) Defendant (or an agent acting on behalf of the Defendant) called or
      texted (2) at least one time after they requested Defendant or its agent to stop
      calling or texting.

      48.    Plaintiff Rainey is a member of and will fairly and adequately represent

and protect the interests of the Classes as he has no interests that conflict with any

members of the Classes.

      49.    Excluded from the Classes are counsel, the Defendant, and any entities

in which the Defendant has a controlling interest, the Defendant’s agents and

employees, any judge to whom this action is assigned, and any member of such

judge’s staff and immediate family.

      50.    Plaintiff and all members of the Classes have been harmed by the acts

of the Defendant, including, but not limited to, the invasion of their privacy,

annoyance, waste of time, the use of their telephone power and network bandwidth,

the use of their data plans, and the intrusion on their telephone that occupied it from

receiving legitimate communications.

      51.    This Class Action Complaint seeks injunctive relief and money

damages.

      52.    The Classes as defined above are identifiable through the Defendant’s

dialer records, other phone records, and phone number databases.


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         53.     Plaintiff does not know the exact number of members in the Classes,

but Plaintiff reasonably believes the members of the Classes number, at minimum,

in the hundreds in each class.

         54.     The joinder of all members of the Classes is impracticable due to the

size and relatively modest value of each individual claim.

         55.     Additionally, the disposition of the claims in a class action will provide

substantial benefit to the parties and the Court in avoiding a multiplicity of identical

suits.

         56.     There are numerous questions of law and fact common to Plaintiff and

to the proposed Classes, including but not limited to the following:

         (a) whether Defendant or their agents placed multiple calls and texts to

               Plaintiff and other members of the TCPA Internal Do Not Call Class

               including at least once after the consumer requested Defendant or their

               agent to stop calling or texting.

         (b) whether Defendant or their agents placed calls and texts to Plaintiff and

               other members of the Florida Stop Request Class including at least once

               after the consumer requested Defendant or their agent to stop calling or

               texting.

         (c) whether the calls constitute a violation of the TCPA and the FTSA; and


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      (d) whether members of the Classes are entitled to treble damages based on

            the willfulness of Defendant’s conduct.

      57.     Further, Plaintiff will fairly and adequately represent and protect the

interests of the Classes. Plaintiff has no interests which are antagonistic to any

member of the Classes.

      58.     Plaintiff has retained counsel with substantial experience in prosecuting

complex litigation and class actions, and especially TCPA and FTSA class actions.

Plaintiff and his counsel are committed to vigorously prosecuting this action on

behalf of the other members of the Classes and have the financial resources to do so.

      59.     Common questions of law and fact predominate over questions

affecting only individual class members, and a class action is the superior method

for fair and efficient adjudication of the controversy. The only individual question

concerns identification of class members, which will be ascertainable from records

maintained by Defendant and/or its agents.

      60.     The likelihood that individual members of the Classes will prosecute

separate actions is remote due to the time and expense necessary to prosecute an

individual case.

                                    COUNT I
                     Telephone Consumer Protection Act
                           Violation of 47 U.S.C. § 227
    On Behalf of Plaintiff Rainey and the TCPA Internal Do Not Call Class

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      61.   Plaintiff repeats and realleges the prior paragraphs of this Complaint

and incorporates them by reference herein.

      62.   Under 47 C.F.R. § 64.1200(d), “[n]o person or entity shall initiate any

call for telemarketing purposes to a residential telephone subscriber unless such

person or entity has instituted procedures for maintaining a list of persons who

request not to receive telemarketing calls made by or on behalf of that person or

entity. The procedures instituted must meet the following minimum standards:

            (1) Written policy. Persons or entities making calls for
            telemarketing purposes must have a written policy, available
            upon demand, for maintaining a do-not-call list.
            (2) Training of personnel engaged in telemarketing. Personnel
            engaged in any aspect of telemarketing must be informed and
            trained in the existence and use of the do-not-call list.
            (3) Recording, disclosure of do-not-call requests. If a person or
            entity making a call for telemarketing purposes (or on whose
            behalf such a call is made) receives a request from a residential
            telephone subscriber not to receive calls from that person or
            entity, the person or entity must record the request and place the
            subscriber's name, if provided, and telephone number on the do-
            not-call list at the time the request is made. Persons or entities
            making calls for telemarketing purposes (or on whose behalf
            such calls are made) must honor a residential subscriber's do-not-
            call request within a reasonable time from the date such request
            is made. This period may not exceed thirty days from the date of
            such request. If such requests are recorded or maintained by a
            party other than the person or entity on whose behalf the
            telemarketing call is made, the person or entity on whose behalf
            the telemarketing call is made will be liable for any failures to
            honor the do-not-call request. A person or entity making a call


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               for telemarketing purposes must obtain a consumer's prior
               express permission to share or forward the consumer's request
               not to be called to a party other than the person or entity on whose
               behalf a telemarketing call is made or an affiliated entity.
               (4) Identification of sellers and telemarketers. A person or entity
               making a call for telemarketing purposes must provide the called
               party with the name of the individual caller, the name of the
               person or entity on whose behalf the call is being made, and a
               telephone number or address at which the person or entity may
               be contacted. The telephone number provided may not be a 900
               number or any other number for which charges exceed local or
               long distance transmission charges.
               (5) Affiliated persons or entities. In the absence of a specific
               request by the subscriber to the contrary, a residential
               subscriber's do-not-call request shall apply to the particular
               business entity making the call (or on whose behalf a call is
               made), and will not apply to affiliated entities unless the
               consumer reasonably would expect them to be included given the
               identification of the caller and the product being advertised.
               (6) Maintenance of do-not-call lists. A person or entity making
               calls for telemarketing purposes must maintain a record of a
               consumer's request not to receive further telemarketing calls. A
               do-not-call request must be honored for 5 years from the time the
               request is made.
         63.   Defendant, or an agent calling on behalf of Defendant placed calls to

Plaintiff and members of the TCPA Internal Do Not Call Class without

implementing internal procedures for maintaining a list of persons who request not

to be called by the entity and/or by implementing procedures that do not meet the

minimum requirements to allow the Defendant or its agent to initiate telemarketing

calls.


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      64.    The TCPA provides that any “person who has received more than one

telephone call within any 12-month period by or on behalf of the same entity in

violation of the regulations prescribed under this subsection may” bring a private

action based on a violation of said regulations, which were promulgated to protect

telephone subscribers’ privacy rights to avoid receiving telephone solicitations to

which they object. 47 U.S.C. § 227(c)(5).

      65.    The Defendant has, therefore, violated 47 U.S.C. § 227(c)(5). As a

result of Defendant’s conduct, Plaintiff and the other members of the TCPA Internal

Do Not Call Class are each entitled to up to $1,500 per violation.

                                  COUNT II
                      Florida Telephone Solicitation Act
                       Violation of Fla. Stat. § 501.059
       On Behalf of Plaintiff Rainey and the Florida Stop Request Class

      66.    Plaintiff repeats and incorporates the allegations set forth in paragraphs

1 through 60 of this complaint as if fully set forth herein.

      67.    Plaintiff Rainey brings this claim individually and on behalf of the

Florida Stop Request Class Members against Defendant.

      68.    The FTSA prohibits “a telephone solicitor or other person” from

initiating “an outbound telephone call, text message, or voicemail transmission to a

consumer, business, or donor or potential donor who has previously communicated


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to the telephone solicitor or other person that he or she does not wish to receive an

outbound telephone call, text message, or voicemail transmission, made by or on

behalf of the seller whose goods or services are being offered.” Fla. Stat. §

501.059(5)(a).

      69.    A “telephonic sales call” is defined as a “telephone call, text message,

or voicemail transmission to a consumer for the purpose of soliciting a sale of any

consumer goods or services, soliciting an extension of credit for consumer goods or

services, or obtaining information that will or may be used for the direct solicitation

of a sale of consumer goods or services or an extension of credit for such purposes.”

Fla. Stat. § 501.059(1)(j).

      70.    In violation of the FTSA, Defendant initiated multiple outbound

solicitation calls to Plaintiff Rainey, and other members of the Florida Stop Request

Class, who had previously communicated to Defendant that they did not wish to

receive any solicitation calls from or on behalf of Defendant.

      71.    As a result of Defendant’s conduct, and pursuant to § 501.059(10)(a)

of the FTSA, Plaintiff Rainey and Class members were harmed and are each entitled

to a minimum of $500.00 in damages for each violation. Plaintiff Rainey and the

Class members are also entitled to an injunction against future calls. Id.



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                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for

the following relief:

   a) An order certifying this case as a class action on behalf of the Classes as

      defined above; appointing Plaintiff as the representative of the Classes; and

      appointing his attorneys as Class Counsel;

   b) An award of damages and costs;

   c) An order declaring that Defendant’s actions, as set out above, violate the

      TCPA and the FTSA;

   d) An injunction requiring Defendant to cease all unsolicited calling activity, and

      to otherwise protect the interests of the Classes; and

   e) Such further and other relief as the Court deems just and proper.



                                 JURY DEMAND

      Plaintiff Rainey requests a jury trial.

                                        ETHAN RAINEY, individually and on
                                        behalf of all others similarly situated,


Dated: August 25, 2022.                 Respectfully submitted,

                                        By: /s/ Stefan Coleman

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